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UNITED STATES DISTRICT COURT “3. “V+ =. . A
SOUTHERN DISTRICT OF NEW YORK =, & 3 ~S
So PBL
In re Terrorist Attacks on September 11, 03 MDL 1570 (GBD)(SN) “BB we
2001 ECF Case “ AL be

 

 

 

This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN) (and member case
Hugh A. Chairnoff, et al. y. Islamic Republic of Iran, 1:18-cv-12370 (GBD) (SN)))

BEE 08DER OF PARTIAL FINAL DEFAULT JUDGMENTS

Upon consideration of the evidence and arguments submitted by Plaintiffs in the above-
captioned Hugh A. Chairnoff, et al. v. Islamic Republic of Iran, \:18-cv-12370 (GBD) (SN) (the
“Chairnoff Plaintiffs”) through their Motion for (1) Judgment by Default as to Liability of the
islamic Republic of lran pursuant to 28 U.S.C. § 1605A(c), and (2) Partial Final Judgments for
Solatium and Pain and Suffering Damages for Certain Plaintiffs, and the evidence filed in the
above-captioned multidistrict litigation on May 19, 2011, July 13, 2011 and August 19, 2011,
and the evidence presented at the December 15, 2011 hearing on liability, together with the
entire record in this case, it is hereby;

ORDERED that Chairnoff Plaintiffs’ except Isabel Nimbley having established their
claims against the Islamic Republic of Iran under 28 U.S.C. Section 1605A(c) by evidence
satisfactory to the Court and there being no just reason for delay, their Motion for Judgment by
Default Against the Islamic Republic of Iran is hereby GRANTED and partial final judgment on
liability is entered in favor of Chairnoff Plaintiffs except Isabel Nimbley and against the Islamic

Republic of Lran; and it is

 

 
ORDERED that, there being no just reason for delay, partial final judgment is entered
against the Islamic Republic of Iran and in favor of those Chairnoff Plaintiffs identified in the
attached Exhibit A, who are each the spouse, parent, child, or sibling (or the estate of a parent)
of an individual killed in the terrorist attacks on September 11, 2001, are awarded solatium
damages of $12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and
$4,250,000 per sibling as set forth in Exhibit A; and it is

ORDERED that those Chairnoff Plaintiffs identified in the attached Exhibit A are
awarded prejudgment interest on the damages hereby awarded to be calculated at a rate of 4.96
percent per annum, compounded annually, ranning from September 11, 2001 until the date of
this judgment; and it is

ORDERED that, there being no just reason for delay, partial final judgment awarding
compensatory damages for decedent’s pain and suffering in the amount of $2,000,000 is entered
against the Islamic Republic of Iran and in favor of the Estate of Geoffrey E. Guja, together with
prejudgment interest thereon to be calculated at a rate of 4.96 percent per annum, compounded
annually, running from September 11, 2001 until the date of this judgment; and it is

ORDERED that Plaintiffs identified in the attached Exhibit A and the Estate of
Geoffrey E. Guja may submit applications for economic, punitive or other damages, to the extent
such awards have not previously been addressed, at a later date consistent with any future rulings
of this Court; and it 1s

ORDERED that Plaintiffs Angel Anderson, Aishah Anderson and Michele M. Nimbley,
and Plaintiff Debra Guja, acting on behalf of the stepchildren of decedent Geoffrey E. Guja, may

submit applications for judgments for solatium damages at a later date.

 

 
Dated: New York, New York

Othbyr § _,2021
SO ORDERED:

Girsap, B. Dorrelo

GEORGES} DANIELS
Unitéd States District Judge

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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